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 UNITED STATES BANKRUPTCY COURT
 NORTHERN DISTRICT OF NEW YORK
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 In re:                                                   Case No.: 23-30672-5-wak

 Joseph A. DiMino, Jr.,                                   Chapter 13

                           Debtor.                        Hon. Wendy A. Kinsella, C.U.S.B.J.

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       AMENDED NOTICE OF HEARING TO FILE PROOF OF CLAIM FOR POST-
             PETITION MORTGAGE LOAN ESCROW DEFICIENCY

          PLEASE TAKE NOTICE, that upon the annexed application of attorneys for

 ServiceMac, LLC (“ServiceMac”), as servicer for Movement Mortgage, LLC (“Movement

 Mortgage”), the undersigned will move this Court on May 16, 2024 at 10:00 a.m., or as soon

 thereafter as counsel may be heard, at the United States Bankruptcy Court, James M. Hanley

 U.S. Courthouse, 100 South Clinton Street, Syracuse, New York 13261 for an Order allowing

 for the filing of a proof of claim for mortgage escrow deficiency for funds advanced and projected

 escrow shortage, in the instant chapter 13 case, together with such other and further relief as to the

 Court may seem just and proper.

          PLEASE TAKE FURTHER NOTICE, that any objections must be in writing and must

 be filed in the office of the U.S. Bankruptcy Court Clerk at 100 South Clinton Street, Syracuse,

 New York 13261 and served (by mail) on the undersigned attorney and the case trustee at least

 seven (7) days prior days to the above hearing date. You will also need to attend the hearing

 scheduled to be held at the United States Bankruptcy Court, Northern District of New York, James

 M. Hanley U.S. Courthouse, 100 South Clinton Street, Syracuse, New York 13261.
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        Appearances can be in person or telephonically. The hearing will be held at the above-

 referenced address. To appear telephonically, please call 888-398-2342; and use access code:

 3187406#.



 Dated: Westbury, New York
        April 18, 2024
                                           Robertson, Anschutz, Schneid,
                                           Crane & Partners, PLLC
                                           Attorney for Secured Creditor
                                           900 Merchants Concourse, Suite 310
                                           Westbury, NY 11590
                                           Telephone: 516-280-7675
                                           Facsimile: 516-280-7674

                                           By: /s/ Kevin R. Toole_____
                                           Kevin R. Toole, Esq.
                                           Email: ktoole@raslg.com



 TO:

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 Mark W. Swimelar-Trustee
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 United States Trustee
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 Room 105
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